                  IN THE UNITED STATES DISTRICT COURT FOR THE
                          NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION

RED LABEL MUSIC PUBLISHING, INC., an                )
Illinois corporation; and RENAISSANCE               )
MARKETING CORPORATION, an Illinois                  )
corporation,                                        )   Case No. 1:18-cv-7798
                                                    )
                       Plaintiffs,                  )   Honorable Judge:
v.                                                  )
                                                    )   Magistrate Judge:
FOX SPORTS INTERACTIVE MEDIA, LLC,                  )
a Delaware limited liability company; FOX           )   JURY DEMANDED
NEWS NETWORK, LLC, a Delaware limited               )
liability company; FOX TELEVISION                   )
STATIONS, LLC, a Delaware limited liability         )
company; FOX TELEVISION STATIONS,                   )
INC., a Delaware corporation; NEW FOX,              )
INC., a Delaware corporation; NEW FOX               )
HOLDINGS LLC, a Delaware limited liability          )
company; and NEW FOX CB LLC, a Delaware             )
limited liability company,                          )
                                                    )
                       Defendants.                  )

                   COMPLAINT FOR COPYRIGHT INFRINGEMENT

       The Plaintiffs, RED LABEL MUSIC PUBLISHING, INC. and RENAISSANCE

MARKETING CORPORATION, by their attorneys, Gregg Minkow of Minkow & Bergman,

Ltd. and Samuel G. Levin, complain as follows of the Defendants, FOX SPORTS

INTERACTIVE MEDIA, LLC; FOX NEWS NETWORK, LLC; FOX TELEVISION

STATIONS, LLC; FOX TELEVISION STATIONS, INC.; NEW FOX, INC.; NEW FOX

HOLDINGS LLC; and NEW FOX CB LLC:

                                     SUMMARY OF CASE

       1.     This action is brought against various Fox companies by the owner of the

copyrights in the words, music, sound recording, and music video known as the “Super Bowl

Shuffle” (also referred to as the “Shuffle”), Red Label Music Publishing, Inc. (“Red Label”), and
                                                1
by Red Label’s licensing agent, Renaissance Marketing Corporation (“Renaissance”), for

reproduction, display and performance of substantial portions of the words, music, sound

recording, and music video without permission from Red Label and Renaissance despite the Fox

companies’ knowledge that Red Label and renaissance owned rights that were being infringed.

                                             PARTIES

       2.      Plaintiff Red Label Music Publishing, Inc. (“Red Label”) is a corporation

organized under the laws of the State of Illinois with its registered office in Chicago, Illinois.

Red Label is the owner of the copyrights in the words, music, sound recording, and audio-visual

work known as the Super Bowl Shuffle, pursuant to United States Copyright Office registration

numbers Pau 793 097 (words and music), SR 77 602 (sound recording), and PA 290 856 (audio

visual work), V2486P131 (assignment), and V3608D238 (assignment).

       3.      Plaintiff Renaissance Marketing Corporation (“Renaissance”) is a corporation

organized under the laws of the State of Illinois with its registered office in Chicago, Illinois.

Julia Meyer (“Meyer”), widow of the Shuffle’s co-author and producer, Richard Meyer, is the

owner of both Red Label and Renaissance. Renaissance is the exclusive agent authorized by Red

Label to issue copyright licenses to parties like the Defendants for inclusion of the Super Bowl

Shuffle words, music, sound recording or audio visual work pursuant to Renaissance’s

agreement with Red Label.

       4.      Defendant Fox Sports Interactive Media, LLC (sometimes referred to herein as

“FSIM”) is a Delaware limited liability company with principal offices at 10201 West Pico

Boulevard, Building 101, Los Angeles, California 90035.

       5.      Defendant Fox News Network, LLC (sometimes referred to herein as “FNN”) is a

Delaware limited liability company with principal offices at 1121 Avenue of the Americas, New

York, New York 10036. On information and belief, FNN does business in part as Fox News

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Channel and at all relevant times produced, distributed, and broadcast its “Fox & Friends”

morning show and the related Internet-viewable “After the Show Show.”

       6.      Defendant Fox Television Stations, LLC (sometimes referred to herein as “FTS

LLC”) is a Delaware limited liability company with principal offices at 1121 Avenue of the

Americas, New York, New York 10036. On information and belief, FTS LLC does business in

part as Fox 46 in Charlotte, North Carolina.

       7.      Defendant Fox Television Stations, Inc. (sometimes referred to herein as “FTS

Inc.”) is a Delaware corporation with principal offices at 1999 South Bundy Drive, Los Angeles,

California 90025. On information and belief, FTS Inc. does business in part as Fox 46 in

Charlotte, North Carolina.

       8.      Defendant New Fox, Inc. (sometimes referred to herein as “New Fox Inc.”) is a

Delaware corporation with principal offices at 1121 Avenue of the Americas, New York, New

York 10036. On information and belief, New Fox Inc. acquired rights and obligations in

connection with the “Fox & Friends” morning show, the related Internet-viewable “After the

Show Show,” and Fox 46 in Charlotte, North Carolina.

       9.      Defendant New Fox Holdings LLC (sometimes referred to herein as “New Fox

Holdings”) is a Delaware limited liability company with principal offices at 1121 Avenue of the

Americas, New York, New York 10036. On information and belief, New Fox Holdings acquired

rights and obligations in connection with the “Fox & Friends” morning show, the related

Internet-viewable “After the Show Show,” and Fox 46 in Charlotte, North Carolina.

       10.     Defendant New Fox CB LLC (sometimes referred to herein as “New Fox CB”) is

a Delaware limited liability company with principal offices at 1121 Avenue of the Americas,

New York, New York 10036. On information and belief, New Fox CB acquired rights and



                                                3
obligations in connection with the “Fox & Friends” morning show, the related Internet-viewable

“After the Show Show,” and Fox 46 in Charlotte, North Carolina.

                                  JURISDICTION AND VENUE

        11.     This is a civil action arising under the federal Copyright Act (at 17 U.S.C. § 101

et seq.).

        12.     This Court has original and subject matter jurisdiction over this copyright

infringement action pursuant to 28 U.S.C. §§ 1331 and 1338(a).

        13.     This Court has personal jurisdiction over Defendants, pursuant to 735 ILCS 5/2-

209 (the Illinois Long-Arm Statute) and other applicable law, because, among other things, all of

the Defendants are doing business in the State of Illinois and in this judicial district on a regular

basis and maintain offices in the State of Illinois and in this judicial district; the acts of

infringement complained of herein occurred at least partially in the State of Illinois and in this

judicial district; Defendants have caused injury to be suffered by Plaintiffs and their intellectual

property within the State of Illinois and this judicial district, which was foreseeable to each

Defendant; and the Defendants purposely directed their respective infringing and otherwise

wrongful activities to audiences within the State of Illinois and this judicial district.

        14.     Venue is proper in this district pursuant to 28 U.S.C. §§ 1391(b)(1) and (2),

1391(c)(1) and (2), 1391(d), and 1400(a).

                          FEDERAL COPYRIGHT INFRINGEMENT

        15.     Since 2011 and earlier, pursuant to the Copyright Act (at 17 U.S.C. § 106), Red

Label has been the sole owner of those copyrights, and along with Renaissance, the only persons

lawfully authorized to grant licenses to reproduce, perform or display them in films, television

shows, and the like.

        16.     All the Defendants were on constructive notice of Red Label’s exclusive rights by

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reason of their registration with the Copyright Office years before the infringements occurred,

and had actual knowledge of those rights by reason of prior interactions pertaining to the Shuffle

between Meyer and Renaissance, on the one hand, and one or more of FSIM, FNN, FTS LLC

and FTS Inc., which have had representation in common, on the other hand.

       17.      Despite such constructive and actual knowledge of the Plaintiffs’ exclusive rights,

and that the Defendants had not been granted a license thereunder:

             a. FSIM infringed the Plaintiffs’ copyrights by reproducing substantial portions of

                the Shuffle music video, sound recording, words and music and selling,

                distributing, displaying, and performing those excerpts, and/or arranging for their

                reproduction, performance, display, distribution and sale, and making the

                infringing work available at the following website:

                          •   http://www.foxsports.com/nfl/story/national-football-league-

                              chicago-bears-super­bowl-shuffle-30-years-120315,

                which also enabled playing the full music video on that site, and facilitated

                sharing via Facebook and otherwise;

             b. FNN infringed the Plaintiffs’ copyrights by reproducing substantial portions of

                the Shuffle sound recording, words and music and selling, distributing,

                displaying, and performing those excerpts, and/or arranging for their

                reproduction, performance, display, distribution and sale, via live telecast and

                making the telecast and Shuffle excerpts available at the following websites:

                          •   http://video.foxnews.com/v/4736300632001/after-the-show-show-

                              the-super-bowl-shuffle/?#sp=watch-live,

                          •   http://video.foxnews.com/v/4736300632001/?#sp=show-clips, and


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                          •   http://nation.foxnews.com/2016/02/06/watch-super-bowl­shuffle-

                              fox-friends-after-show-show-style,

                at least the first two of which sites facilitated sharing via Facebook and otherwise,

                and at least the third of which sites also on information and belief enabled playing

                of the music video; and

             c. FTS LLC and/or FTS Inc. infringed the Plaintiffs’ copyrights by reproducing

                substantial portions of the Shuffle music video (and still images therefrom), sound

                recording, words and music and selling, distributing, displaying, and performing

                those excerpts, and/or arranging for their reproduction, performance, display,

                distribution and sale, via live telecast on Fox 46 (a television station in Charlotte,

                North Carolina), and making the prior telecast, Shuffle excerpts and still images

                available at the following website:

                          •   http://www.fox46charlotte.com/sports/46844664-story,

                which site facilitated sharing via Facebook and otherwise.

       18.      All of the above occurred without the permission of or any license from either of

the Plaintiffs, and was in violation of the Plaintiffs’ exclusive copyrights.

       19.      Through their conduct described herein, each of the Defendants has infringed Red

Label’s copyrights in the Super Bowl Shuffle words, music, sound recording and (where

indicated above) music video or audio-visual work in violation of the Copyright Act, a t 17

U.S.C. §§ 106 and 501.

       20.      Plaintiffs became aware of the above infringements in 2016.

       21.      On April 22, 2016, an attorney on Plaintiffs’ behalf notified an attorney from Fox

Group Legal (at 2121 Avenue of the Stars, Suite 700, Los Angeles, California 90067) of the


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foregoing infringements, in writing, but all the infringements continued for a substantial period

of time thereafter on the websites shown above.

        22.     Indeed, the infringing After The Show Show telecast, and ability to share the

telecast (via at least Facebook and Twitter), remain available at one of the above websites

currently, without permission from the Plaintiffs.

        23.     Likewise, the infringing Fox 46 telecast, still images, and ability to share the

telecast and still images via Facebook, Twitter, Google+ and otherwise, also remain available at

the above-indicated website currently, without permission from the Plaintiffs.

        24.     The Fox 46 telecast when played on the above-indicated website is preceded by a

changing inventory of video advertisements.

        25.     Meanwhile, the above-indicated FSIM website, one or more of the FNN websites,

and the FTS website have been vehicles for advertising either third-party products or other Fox

programming, which ads appear on such sites.

        26.     On information and belief, by reason of the terms of the 2018 separation of

various 20th Century Fox assets in connection with the purchase that year of certain other assets

by the Walt Disney Company, rights and liabilities pertaining to the activities referenced above

as infringing were assigned to and accepted by New Fox Inc. and/or New Fox Holdings and/or

New Fox CB, and/or they benefit from the continuing infringements.

        27.     Defendants' acts of infringement were and continue to be willful, intentional and

purposeful, in disregard of and with indifference to Plaintiffs' rights.

        28.     As a direct and proximate result of said infringements by the Defendants,

Plaintiffs are entitled to statutory damages in an amount to be determined at trial, if the Plaintiffs

so elect.



                                                   7
       29.     Plaintiffs are also entitled to the reasonable royalties or license fees Plaintiffs

should have received from each of the Defendants for the use of their copyright-protected works,

and/or Defendants' profits attributable to the infringements, pursuant to 17 U.S.C. § 504(b),

including an accounting of such profits, and/or any other damages suffered by reason of dilution

of sales of copyright licenses by Red Label or Renaissance, loss of goodwill inherent in the

Super Bowl Shuffle, or otherwise.

       30.     Plaintiffs further are entitled to their attorneys' fees and costs pursuant to 17

U.S.C. § 505 and otherwise according to law.

       31.     As a direct and proximate result of the foregoing acts and conduct, Plaintiffs have

sustained and will continue to sustain substantial, immediate, and irreparable injury, for which

there is no adequate remedy at law.

       32.     On information and belief, unless enjoined and restrained by this Court,

Defendants will continue to infringe Plaintiffs' rights in the Shuffle words, music, sound

recording, and music video. Plaintiffs are entitled to preliminary and permanent injunctive relief

to restrain and enjoin Defendants' continuing infringing conduct.

       WHEREFORE, the Plaintiffs respectfully request that:

       A.      Until this case is decided, and permanently thereafter, the Defendants, the

Defendants’ agents, and all persons actively in concert with the Defendants, be enjoined from

reproducing, selling, distributing, displaying, or performing any portion of the works containing

Super Bowl Shuffle words, music, sound recording or audio visual works, or portions thereof,

and from maintain links to the Shuffle audio visual work;

       B.      The Defendants be ordered to account for and pay as damages to the Plaintiffs all

profits and advantages gained from their copyright infringement and/or the reasonable royalties or



                                                   8
license fees Plaintiffs should have received from each of the Defendants for their use and

exploitation of the Plaintiffs’ copyright-protected works, and/or any other damages suffered by

reason of dilution of sales of copyright licenses by Red Label or Renaissance, loss of goodwill

inherent in the Super Bowl Shuffle, or otherwise, or, in the alternative, statutory damages if

elected by Plaintiffs, whichever is greater, such damages estimated to be in excess of USD

$1,000,000.00;

       C.      The Defendants be ordered to destroy or deliver for impoundment all copies of

the infringing works in the Defendants’ possession or control, and all materials used for making

infringing copies;

       D.      The Defendants be ordered to pay the Plaintiffs interest, costs, and reasonable

attorney’s fees; and

       E.      The Plaintiffs be awarded all other just relief.

       PLAINTIFFS DEMAND TRIAL BY 12-PERSON JURY ON ALL MATTERS TO THE

EXTENT PERMITTED BY APPLICABLE LAW.

November 26, 2018

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                                                  9
